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                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS

DWIGHT LONG,                                      )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )             No. 19-CV-3195
                                                  )
TERRY MARTIN.                                     )
                                                  )
       Defendant.                                 )


                               CERTIFICATE OF SERVICE

       I hereby certify that on November 14, 2022, I served PLAINTIFF’S RULE 26

DISCLOSURES via email at the address of Defendant’s attorneys below:

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